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                               UNITBD STATES DISTRICT COURT
                               EASTERN DISTRICT OF MISSOURI

        First Amended Petition for Warrant or Summons for Offender Under Super-vision

Name of Offender: Thomas Benson Wilson        Jr.                Case Number: 4:09CR00041-2 ERW

Name of Sentencing Judicial Officer: The Honorable E. Richard Webber
                                     Senior United States District Judge

Date of Original Sentence: October 2,2009

Original Offense: Unlawful Possession of a Prohibited Flask or Equipment With the Intent to
Manufacture Metharnp hetamine

Original Sentence: 69 months imprisonment and 24 months supervised release

Type of Supervision: Supervised Release                     Date Supervision Commenced: July 16,2013
                                                                          Expiration Date: July 15,2015

Assistant U.S, Attorney: Jennifer Winfìeld                             Defense Attorney: Stephen Welby



                                    PETITIONING THE COURT

To amend the original petition to include additional information. The amended infbrmation is in
bold.

The probation officer believes that the offender has violated the following conditions of supervision

Violation Number
General Condition: The defendant shall not commit another federal, state, or local crime.

General Condition: The defendant shall not possess a firearm as defined in 18 U.S.C. $ 921.

Nature of Noncompliance
On March 4,2014, the U.S. Probation Officer received notice that Wilson was "\ryanted" by the St.
Louis Metropolitan Police Department (SLMPD) for Robbery I't Degree in reference to a car-
,jacking that occurred on March I,2014, The SLMPD report, OCA #14-8546, has been received
and is summarized as follows.

On March 1,2014, at approximately l2:25am, SLMPD officers were dispatched to 6237 Famous
Avenue, St. Louis, Missouri 63139 for a report of a car-jacking. The victim informed the officers
that he was seated inside his vehicle, a 2008 Hummer H3, in the rear driveway of the above
address when a small dark colored vehicle with tinted windows pulled in front of the Hummer,



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blocking it in. Two white male subjects exited the vehicle and announced they were the police.
Both subjects had on t-shirts with "Police" written on the front in white lettering.

Subject 2 forcibly removed the victim from his vehicle, pushed him against the vehicle, and
ordered the victim to place his hands behind his back. Subject 1 (later identified as Thomas
Wilson) searched the victim's pockets while subject 2 held him against the vehicle. Subject 1
removed six hundred dollars from the victim's left front pocket. The victim was then thrown to
the ground and threatened to be shot by subject I as he pointed a dark colored handgun at the
victim. The subjects then entered both vehicles and drove south in the alley from the scene.

The victim was not injured during the incident. The victim stated he recognized one of the
suspects (Wilson) and provided the officer with the suspect's pedigree information, which was
obtained from an acquaintance who also knew the subject. An area search failed to locate the
vehicles or suspects.

Violation Number
General Condition: The defendant shall not commit another federal, state, or local crime.

General Condition: The defendant shall not possess a firearm as defîned in 18 U.S.C. $ 921.

Standard Condition #l: The defendant shall not leave the judicial district without the permission
ofthe court or probation offïcer.

Nature of Noncomnliance
On February 412Dl4,Madison County, Illinois Circuit Court issued an arrest warrant for
Thomas Wilson alleging that he committed the offense of Home Invasion. The Madison County,
Illinois Sheriff s Office incident report, OCA #14-2510, has been received and is summarized as
follows.

On February 312014, at approximately lI:Z9pm, deputies with the Madison County Sheriff s
Office were dispatched to 5701 Marine Road, Alhambra, Illinois in reference to a home invasion
in progress. Upon arrival, contact was made with three subjects who advised that they were the
occupants of the residence and the victims in this incident. Deputies observed that the door of the
residence was knocked off its hinges. A check of the residence yielded negative results for any
suspects. However, multiple items of drug paraphernalia were observed inside the residence.

The victims advised that three or four subjects, wearing police vests and claiming to be police,
came to the front door and attempted to break it down. The subjects were armed with handguns.
The suspects were described as white males. The suspects ordered the three victims downstairs
into one of the bedrooms while demanding money and drugs. One of the subjects took a victim's
wallet, cell phone, and a set of keys to a Uhaul truck that was parked outside. One of the victims
stated he was struck in the face with a gun. The victims advised that the suspects fled the scene on
foot once deputies arrived. A black 2001 Chevrolet Impala bearing Missouri license plate #AC5
C45 was left at the scene. It was believed that this is the vehicle that the suspects arrived in, which
was left at the scene after the suspects fled on foot.




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Thevictims informed the deputies thatthe ownerof the residence is currently incarcerated in the
St. Louis City Justice Center. A week prior to this incident, the home was invaded in similar
fashion. Therefore, the owner of the residence asked the three victims to stay at the house in order
to prevent the house from being broken into again.

On March 612014, the undersigned officer spoke to Madison County Sheriff s Office Detective CJ
Reckman regarding the above mentioned home invasions. This officer asked Detective Reckman
how Thomas Wilson was identified as a suspect in this case. Detective Reckman advised that he
interryiewed the last known o\ryner of the Chevrolet Impala that was left at the scene. The owner of
the vehicle stated he sold the vehicle to Thomas Wilson on January 17 r2014. Additionally' a
prescription medication bottle with Thomas Wilson's name on it was recovered from inside the
vehicle. Lastly, one of the victims from the home invasion positively identified Wilson through a
photo lineup.

Violation Number
General Condition: The defendant shall not unlawfully possess a controlled substance. The defendant
shall refrain from any unlawful use of a controlled substance, The defendant shall submit to one drug
test within 15 days of release from imprisonment and at least two periodic drug teststhereafter, as
determined by the Court.

Standard Condition #7:The defendant shall refrain from excessive use of alcohol and shall not purchase,
possess, use, distribute, or administer any controlled substance or any paraphernalia related to any
controlled substances, except as prescribed by a physician.

Nature of Noncomnliance
On January 22,2014, Wilson submitted to a drug test that returned positive for amphetamines, On
January 28,2014, the undersigned officer interviewed Wilson regarding the positive drug test, Wilson
denied use of any controlled substances. He also stated he was not prescribed any medications that
could result in a positive drug test, As a result, the sample from this drug test was sent to the national
lab for confirmation. Confirmation results received on February 3, 2014 verified that the positive drug
test resulted from the use of methamphetamine, As V/ilson is currently absconding from supervision, he
has not made himself available to further discuss this drug use.

Violation Number
Standard Condition #2: The defendant shall report to the probation offrcer and shall submit a truthful
                                     frst five days of each month.
and complete written report within the

Standard Condition #5: The defendant shall work regularly at a lawful occupation, unless excused by the
probation officer for schooling, training, or other acceptable reasons.

Nature of Noncompliance
On February 5,2074, February 6,2014, and February I l, 2014, the undersigned offrcer attempted to
contact V/ilson via telephone. However, Wilson's cellphone went straight to voicemail. A voicemail
was left for'Wilson directing him to return this officer's call. On February 6,2074, a letter was mailed
to Wilson's reported address directing him to report to the probation offtce on February I1,2014.




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                                                      'Wilson's
On February 7,2014, a home visit was conducted at               reporled address. There was no answer
after several knocks on the front door of the residence. A letter was left at the residence directing
Wilson to report to the probation offrce on February II,2014. Wilson failed to report as directed on
February Il,2014 and failed to make contact with this officer.

On February 6,2014, the undersigned offrcer contacted Wilson's boss, Rick Fitzsimmons, to determtne
if Wilson had been reporting for work. Mr. Fitzsimmons advised that Wilson last reported to work on
February 3,2014. He failed to report for work or to contact Mr. Fitzsimmons on February 4,2014,
February 5,2014, and February 6,2014.

On February 10,2014, the undersigned offìcer contacted a friend of V/ilson's, Elizabeth Million. Ms.
Million advised that on February 7,2014, she met with Wilson and they signed anotarized agreement
giving her control of all Wilson's assets and custody of his son. She advised that Wilson informed her
that he has "some stuff to take care of and won't be back for a while." She stated she did not know
Wilson's current whereabouts or how to get in contact with him.

Wilson failed to submit a written monthly supervision report for January 2014

Violation Number
Standard Condition #9: The defendant shall not associate with any persons engaged in criminal activity,
and shall not associate with any person convicted of a felony unless granted permission to do so by the
probation offrcer.

Nature of Noncompliance
On January 8,2014, Wilson contacted this offrcer and stated he received a traffic citation from St. Louis
Metropolitan Police Department (SLMPD) the previous night. V/ilson stated there were two passengers
in his car at the time of this traffrc stop, He further advised that one of the passengers was arrested.
Wilson stated he did not know the reason for the arrest.

The SLMPD report for the above incident, OCA #14-858, was received and is summarized as follows.
On January 8,2014, SLMPD officers conducted a traffic stop of Wilson's vehicle after observing the
vehicle violate a stop sign. The offrcers observed three male occupants of the car, later identified as
Thomas Wilson (driver), Thomas Tisher (front passenger), and Todd Scott (rear passenger). Upon
approaching the vehicle, the offrcers observed possible contraband on the front passenger seat
floorboard, As a result, all occupants were removed from the vehicle and detained. Upon searching the
vehicle, a clear plastic baggie containing what was believed to be methamphetamine was recovered near
the front passenger's feet, While retrieving the bag from the vehicle, the officer observed a black
handguri under the front passenger seat. The firearm was loaded with nine rounds in the magazine and
one in the chamber. A search of the vehicle revealed no other contraband, Thomas Tisher was placed
under arrest for Violation of Missouri Controlled Substance Law, V/ilson and Scott denied knowing the
suspected controlled substance and hrearm were in the car. V/ilson was issued a citation for Violating a
Stop Sign.

The rear passenger in Wilson's vehicle, Todd Scott, has multiple prior felony convictions. Wilson did
not have this offrcer's permission to associate with Todd Scott.




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On January 15,2014, Wilson reported to the probation office and further discussed the above incident.
Wilson stated at the time of this incident he had just finished doing snow removal work for supplemental
income. He stated he was taking Todd Scott home from work when he was pulled over by SLMPD, He
reiterated that he did not know the contraband was in his vehicle.

Violation Number
Special Condition: The defendant shall participate in a drug or alcohol abuse treatment program
approved by the United States Probation Office, which may include substance abuse testing, counseling,
residence in a Community Corrections Center, residence in a Comprehensive Sanctions Center,
Residential Re-Entry Center, or in-patient treatment in a treatment center or hospital. The defendant
shall pay for the costs associated with substance abuse treatment based on a co-payment fee established
by the United States Probation Offìce. Co-payments shall never exceed the total costs of services
provided.

Nature of Noncompliance
Wilson failed to report for substance abuse testing on December 17,2013 and January 20,2014. Wilson
has failed to call the drug testing hotline from February 4,2014 - February 11,2014.

Previous Violations
On January 22,2014, the Court was notified of the above violations for associating with persons
engaged in criminal activity and with a person convicted of a felony, and for failure to submit to drug
tests. As a result of this violation, Wilson was verbally reprimanded and counseled regarding this
behavior. As no Court action was taken in response to these violations, they have been included in the
body of this report.




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U.S. Probation Officer Recommendation:
it is respectfully requested that the Court amend the original petition to include the additional
information and proceed with revocation of Wilson's term of supervised release. By Wilson's most
recent activity, he is a tremendous threat to the community. Wilson has absconded and is willfully
avoiding the supervision process. Efforts have been made to re-engage Wilson in supervision, but these
efforts have failed. 'Wilson has failed to respond to numerous telephone calls, reporling directives, and a
home visit, Furthermore, V/ilson is actively using methamphetamine and making himself unavailable for
intervention,

The Supervised Release should be
    [X] revoked.
                                                     I declare under penalty of perjury that the foregoing
                                                     is true and correct.

                                                     Executed on March 6,2014



       Approved,                                              Respectfu   lly submitted,

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       Julie A, O'Keefe                                       Timothy J, Goehring
       Supervising U.S. Probation Officer                     U.S. Probation Officer
       Date: March6,2014                                      Date: March6,2014


THE COURT ORDERS:

       No Action

       Amend the Petition




                                                                Signature of Judicial Officer
                                                                       March 6,2014

                                                                Date




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